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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ROBERT BRESLOW and MONICA BRESLOW,                   C.A. NO. 18-908-RGA

       Plaintiffs,

                          v.                         JURY TRIAL DEMANDED

JOHN H. KLEIN and BARRY A. POSNER,

       Defendants.



                                   FIRST AMENDED COMPLAINT

       NOW COME Plaintiffs Robert Breslow and Monica Breslow, by and through their

undersigned counsel, and file this action against Defendants John H. Klein and Barry A. Posner,

and in support of such action state:

                                       INTRODUCTION

       1.      In the spring of 2016, Robert and Monica Breslow were first introduced to John

Klein and his company, which is now operating as Cambridge Therapeutic Technologies, LLC

(“CTT”).    CTT is a pharmaceutical company specializing in packaging and delivery of

medication to patients designed to improve medication adherence.

       2.      Klein wanted the Breslows to invest in his company, and he enlisted the help of

his friend, and longtime business associate, Barry A. Posner, an attorney with the law firm of

Kudman Trachten Aloe LLP, to assist with his scheme to induce the Breslows to invest in CTT.

       3.      Klein and Posner have been business associates for decades. For example, in

1997, Klein was the Chief Executive Officer, the Chairman of the Board, and a Director of MIM

Corporation. Posner was MIM Corporation’s Vice President, Secretary, and General Counsel.
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       4.      Klein and Posner knew that by facilitating the Breslows’ investment in CTT, they

could, among other improper conduct, funnel business from CTT to one or more companies

owned by Posner, including what turned out to be a $250,000 payment from CTT to Dispense

Point, a company owned in part by Posner.

       5.      In addition, Klein promised Posner that he would have CTT enter into an

employment agreement with Posner following the Breslows’ investment, under which CTT

would pay Posner $400,000 per year, plus benefits, to act as CTT’s Executive Vice President of

Business Development, Regulatory Compliance and Legal Affairs.

       6.      To entice the Breslows to invest in CTT, Klein, with the knowing assistance of

Posner, made numerous promises and representations to the Breslows, including certain

statements described below.

       7.      First, Klein and Posner represented that Klein was the founder and sole owner of

CTT.

       8.      Second, Klein represented that he had personally invested approximately $11

million in the company. Posner knew that Klein had made this representation to the Breslows.

       9.      Third, Klein and Posner represented that CTT owned all of the intellectual-

property rights to the copyrights, trademarks, patents, and patent applications necessary to CTT’s

business. This included rights to a valuable FDA-approved New Drug Application (“NDA 50-

824”) that would allow CTT, exclusively, to market and sell a significant product – a combined

package of three commonly handled prescription drugs.

       10.     Knowing how important it was to the Breslows that CTT own NDA 50-824, as

well as other key intellectual property, Klein personally guaranteed the Breslows – in two written

contracts – that CTT did in fact own the NDA and other intellectual property. Klein also




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represented that he would indemnify the Breslows and hold them harmless with respect to any

breach of his representations regarding NDA 50-824 and other intellectual property.

        11.    Fourth, Klein and Posner represented that CTT’s present and existing financial

health was very strong based on, among other things: (i) solid, and increasing, current product

sales in the “non-core” business in which CTT was already operating and would continue to

operate indefinitely, and/or (ii) significant revenue and cash flow increases, in a few short weeks

or months, based on sales of generic prescription drugs delivered in proprietary compliance

packaging, CTT’s “core” business.        CTT had used, and presently intended to use, this

purportedly solid and increasing existing revenue, as represented by Klein and Posner, to operate

its business and grow.

        12.    In reliance on these material representations, among others, by Klein and Posner,

the Breslows invested $12.5 million in CTT.

        13.    Just over a year later, it became clear to the Breslows that none of Klein’s and

Posner’s material representations, upon which the Breslows relied, were true. To the contrary,

each of these representations were false and were known by Klein and Posner to be false when

made.

        14.    For example, Klein has now admitted, despite his prior representations, that he

was not the sole shareholder in CTT. During all relevant times, Posner was aware that Klein was

not the sole shareholder of CTT, despite Posner’s representations to the contrary.

        15.    Further, Klein also never made his represented $11 million investment in the

company.

        16.    Additionally, Klein has admitted that, despite his prior representations, CTT does

not own, or even have license rights to, NDA 50-824, a fact of which Posner was also aware at

all material times.      Instead, NDA 50-824 is owned by another company in which Klein

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purportedly has an ownership interest – a material fact that the Breslows did not know at the time

of their investment because of Klein’s and Posner’s representations to the contrary. Upon

information and belief, that separate company is deriving revenue as a result of selling products

that are the subject of NDA 50-824, which benefits Klein personally.

       17.     With regard to CTT’s existing financial strength, despite representing that CTT

currently had solid, increasing revenue and cash flow that would allow the company to operate

and grow, Klein knowingly diverted CTT’s sales proceeds that had been deposited in a bank

account which was not CTT’s primary account and to which CTT’s Chief Financial Officer and

staff had no access. Then, instead of using that money to fund CTT’s operations and growth

plans, as he had represented was occurring, Klein used it to pay himself a salary and personal

expenses, among other things. Klein never returned CTT’s money from this bank account to

CTT.

       18.     In short, CTT has not been the company Klein and Posner represented to the

Breslows in early 2016. The non-core pharmaceutical products that CTT sold prior to the

Breslows’ investment (represented as generating over $10 million in revenue from March to May

2016) went to zero by the end of September 2016, some three months after the Breslows’

investment.    And the promised cutting-edge core pharmaceutical distribution business has

resulted in less than $50,000 in revenue since October 1, 2016, with no significant increases on

the horizon.

       19.     Through this lawsuit, the Breslows seek redress against Klein and Posner for their

illegal scheme to defraud the Breslows of millions of dollars.

                THE PARTIES AND OTHER RELEVANT INDIVIDUALS

       20.     Plaintiff Monica Breslow is an Illinois citizen and resident. She is a member of

CTT.

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       21.    Plaintiff Robert Breslow is an Illinois citizen and resident. He is a member of

CTT.

       22.    Defendant John H. Klein is a New Jersey citizen and resident. He currently

resides in Bergen County, New Jersey. Klein is a member, and was, until December 2017, the

Chief Executive Officer of CTT. He also serves as Chairman of CTT’s three-person Board of

Managers.

       23.    Defendant Barry A. Posner is a New Jersey citizen and resident. He currently

resides in Bergen County, New Jersey. Posner was the Executive Vice President of Business

Development, Regulatory Compliance and Legal Affairs for CTT until June 2017. Posner also

was simultaneously an attorney in the law firm Kudman Trachten Aloe LLP. Posner served as

Klein’s representative and agent during discussions with the Breslows about their investment in

CTT. The Breslows were led to believe, and in fact believed, that Posner was acting on behalf of

Klein with respect to the investment transaction and that Klein provided information to Posner

that Klein expected Posner to communicate to the Breslows, sometimes in response to direct

questions posed by the Breslows or their representative. At all relevant times, up until June 9,

2017, Posner served as Klein’s designee on CTT’s Board of Managers.

       24.    CTT is a Delaware limited liability company. Its principal place of business is

Teaneck, New Jersey, which is located in Bergen County.

       25.    Non-party Marc Wasserman was, until December 2017, the Chief Financial

Officer and Executive Vice President Corporate Development for the Breslow Forsythe Group,

LLC.   Wasserman represented the Breslows during discussions with Klein concerning the

Breslows’ investment in CTT. Klein and Posner knew that Wasserman was acting on behalf of

the Breslows in this regard. After the Breslows invested in CTT, Wasserman became the

Breslows’ designee on CTT’s Board of Managers.

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                                 VENUE AND JURISDICTION

       26.     The Court has subject-matter jurisdiction under 28 U.S.C. § 1332(a) because

(i) the citizenship of the Breslows (Illinois) is completely diverse from the citizenship of Klein

(New Jersey) and Posner (New Jersey), and (ii) the amount in controversy exceeds $75,000,

exclusive of interest and costs. The Court also has subject-matter jurisdiction under both 28

U.S.C. § 1331, because Counts IV and VI arise under the Securities Exchange Act of 1934, 15

U.S.C. § 78a et seq., and 28 U.S.C. § 1367, because Counts I through III and Counts V and VII

are part of the same case or controversy as Counts IV and VI.

       27.     The Court has personal jurisdiction over Klein because, among other reasons, by

signing CTT’s Operating Agreement and agreeing to its forum-selection clause, Klein consented

to personal jurisdiction in the United States District Court for the District of Delaware for

resolution of any suit, action, or other proceeding arising out of or based upon the Operating

Agreement. The United States District Court for the District of New Jersey has held that the

Operating Agreement’s forum-selection clause covers this lawsuit. 1           Moreover, Klein has

represented that Delaware is the appropriate forum for this lawsuit. 2

       28.     The Court has personal jurisdiction over Posner because he signed the Operating

Agreement, both as a representative of CTT and as an individual member. By signing the

Operating Agreement, Posner consented to the same forum-selection clause that the New Jersey

District Court held applies to this dispute and requires that the dispute be heard in Delaware. 3




1
  See Robert Breslow & Monica Breslow v. John H. Klein, Case No. 2:17-cv-06912 (D. N.J.)
(D.I. # 16).
2
  See Robert Breslow & Monica Breslow v. John H. Klein, Case No. 2:17-cv-06912 (D. N.J.)
(D.I. # 9-1).
3
  See Robert Breslow & Monica Breslow v. John H. Klein, Case No. 2:17-cv-06912 (D. N.J.)
(D.I. # 16).

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       29.     The Court also has personal jurisdiction over Posner because he transacted

business in Delaware by filing CTT’s Certificate of Merger with the Delaware Secretary of State,

which was done in furtherance of Klein’s and Posner’s scheme to fraudulently induce the

Breslows’ investment in CTT. Indeed, Posner was aware that without the preparation and filing

of this Certificate of Merger, the Breslows’ ultimate investment in CTT would not have been

consummated. Moreover, by using a Delaware limited liability company as a device to further

their fraudulent scheme, Posner purposefully availed himself of Delaware law.

       30.     Venue is proper in this Court because, among other reasons, both Klein and

Posner consented to it by agreeing to the forum-selection clause in CTT’s Operating Agreement.

                                       BACKGROUND

       A.      The Breslows’ Investment in CTT.

       31.     This lawsuit centers around the Breslows’ $12.5 million investment in CTT. That

transaction closed on approximately June 15, 2016.

       32.     As part of the transaction, three agreements were executed. Klein, the Breslows,

and CTT entered into a Unit Purchase Agreement, dated June 15, 2016 (“Unit Purchase

Agreement”).    At the Breslows’ insistence, Klein signed the Unit Purchase Agreement

individually for the purpose of, among other things, personally agreeing to § 3.9, in which he

represented and warranted to the Breslows that CTT owned, or had a license to use, NDA 50-

824, as well as other intellectual property. The Breslows relied on the Unit Purchase Agreement,

and Klein’s affirmative representations therein, when deciding to invest in CTT.

       33.     In addition to the Unit Purchase Agreement, Klein signed a letter agreement with

the Breslows, dated June 15, 2016 (“Letter Agreement”), in which Klein (i) reaffirmed, among

other things, his representations in the Unit Purchase Agreement regarding CTT’s ownership or

license of NDA 50-824, and (ii) agreed to hold the Breslows harmless and to indemnify them

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with respect to any breach of such representations. The Breslows relied on the Letter Agreement

when deciding to invest in CTT.

       34.     Klein, the Breslows, Posner, and CTT also entered into an Operating Agreement,

dated June 15, 2016. The Operating Agreement has subsequently been amended.

       35.     Under the Unit Purchase Agreement, the Breslows received 20,000 Class A Units

in CTT. In exchange, they paid $12.5 million. The Breslows paid the first $7.5 million upon

closing of the investment transaction on approximately June 15, 2016. They paid the remaining

$5 million on approximately July 20, 2016.

       36.     The Unit Purchase Agreement, in the Disclosure Schedules, also provides that

Posner would immediately commence employment with CTT and receive a base annual salary of

$400,000, plus benefits.

       37.     The Breslows would not have invested in CTT but for Klein’s and Posner’s

representations to them during pre-investment communications and/or in the Unit Purchase

Agreement and Letter Agreement. Those representations are detailed below.

       B.      The Breslows Are Approached Regarding a Possible Investment in CTT.

       38.     In mid-April 2016, the Breslows were approached by Jeremy Adamic, an

investment banker with Alternative Investment Resource, to discuss possible investments,

including investing with Klein’s company, CTT. On information and belief, Klein himself was

Adamic’s client and Adamic was acting on Klein’s behalf.

       39.     As part of this introductory process, on information and belief, Klein directed

Adamic to provide the Breslows a written presentation about CTT outlining, among other things,

Klein’s business plan for the company.        On information and belief, Klein reviewed the

presentation and knew it would be provided to potential investors, like the Breslows.




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       40.       In the written presentation, Klein represented himself as being a recognized leader

in the United States generic-pharmaceutical industry with over 24 years of experience. Klein

also represented that, since 1995, he returned to investors over $3.3 billion through companies in

which he had been directly involved.

       41.       With respect to CTT, when Adamic provided the presentation to the Breslows, it

was represented that Klein was the Chief Executive Officer and had personally invested $11

million in the company.

       42.       The investor presentation also stated that CTT had developed and was to begin

commercializing a proprietary solution that enables doctors to safely dispense a variety of pre-

packaged, calendarized, generic-drug combinations directly to patients from the doctors’ offices.

Klein later confirmed these written representations, describing CTT’s products to the Breslows

as revolutionary and something that was going to change the entire terrain of the pharmaceutical

supply chain. NDA 50-824 covered one of those purportedly revolutionary products.

       43.       In reliance on Klein’s express representations about CTT’s capabilities, as set

forth in the presentation and otherwise, and the fact that Klein himself claimed to have invested

$11 million of his own money in the company, the Breslows began discussions with Klein about

investing in CTT, and ultimately did invest $12.5 million. Wasserman played a lead role in

those discussions, on behalf of the Breslows. Klein knew that Wasserman was acting in such a

capacity.

       44.       On approximately April 20, 2016, Wasserman and Klein had a telephone

conference to discuss CTT, what type of investment Klein was seeking, and what opportunities

CTT presented for the Breslows.        During that telephone call, Klein made several material

representations about himself and CTT that were critical to the Breslows’ ultimate decision to

invest in CTT.

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       45.     First, Klein again represented that he was the founder, and 100% owner, of CTT

and had personally invested approximately $11 million in the company.

       46.     Second, during this telephone call, Klein advised Wasserman of the benefit of

CTT having proprietary designs for the packaging of combinations of generic prescription drugs,

which doctors commonly prescribed together, one of those being the product approved as NDA

50-824. Klein also represented CTT’s ownership of NDA 50-824 and the NDA’s extremely

significant value, given the expensive, lengthy, and difficult process to get FDA approval of an

NDA, and the fact that NDA 50-824 gave CTT the exclusive right to sell the associated

combined package of three drugs. It was significant to the Breslows that a relatively new

company, like CTT, had an FDA-approved NDA, like Klein represented CTT did.

       47.     At no time during his call with Wasserman did Klein disclose that CTT did not

have full ownership of the intellectual property necessary for CTT to market and sell what Klein

described as its core products, including the critical product associated with NDA 50-824.

       48.     Third, during this call with Wasserman, Klein represented that CTT already had

strong current cash flows just two months into sales of products in its non-core business.

According to Klein, CTT had at least $2 million in revenue in March 2016 and $2.8 million in

April 2016. Based on Klein’s representations, the Breslows understood and relied upon the fact

that those sales resulted in either cash receipts or valuable account receivables for CTT, which

the company was using, and would continue to use, to operate and grow. During his telephone

call with Wasserman, Klein further stated that CTT would achieve $28-$30 million in revenue in

2016 without any capital infusion, and $400 million in revenue in 2017 with $186 million in cash

flows. These statements were false.




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       C.     Klein and Posner Continue to Make Key Misrepresentations to the Breslows.

       49.    Based on the material misrepresentations Klein made in the investor presentation

and during the call with Wasserman, the Breslows continued their discussions with Klein about

investing in CTT.

       50.    The Breslows and Wasserman also communicated with Posner about investing in

CTT.

       51.    Throughout the communications that the Breslows and Wasserman had with

Klein and Posner, Klein and Posner continued to make and repeat several representations of

material fact, which induced the Breslows to invest in CTT, including that: (i) Klein was the

founder and 100% owner of CTT, (ii) Klein had personally invested $11 million in CTT, (iii)

CTT owned certain key intellectual property, including NDA 50-824, which was a valuable asset

necessary for production and marketing of one of CTT’s key “core” products, and/or (iv) CTT

was performing well and financially healthy based on sales from its non-core business and the

sales and revenues presently expected from the distribution of its core products, including the

unique product associated with NDA 50-824.

              1.     Klein’s claimed ownership and investment in CTT.

       52.    Throughout the process, Klein continued to represent that he personally invested

$11 million in the company. In addition, Klein and Posner continued to represent that Klein was

the sole owner of CTT.

       53.    For example, when the Breslows received, on May 16, 2016, a draft Operating

Agreement that mentioned another entity (identified as WTM) as a possible owner of CTT,

Wasserman asked Klein and Posner to clarify whether WTM owned units in the company.




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       54.     Posner responded via email on May 17, 2016, and assured Wasserman that: (i)

WTM did not own units in CTT, (ii) WTM was at one point a possible investor in the company

but would not be investing, and (iii) Klein alone owned CTT.

       55.     Posner knew these representations were false when he made them. For example,

just months before this email, Posner’s law firm, Kudman, and on information and belief Posner

himself, prepared a separate unit purchase agreement that sold shares of CTT to a third party,

thus demonstrating Posner’s knowledge that Klein was not the sole owner of CTT.

       56.     Posner made the foregoing false assurances on behalf of Klein to facilitate the

Breslows’ investment.     Klein knew Posner would be communicating such assurances to

Wasserman in response to Wasserman’s question.

       57.     At the Breslows’ request, Klein’s representation that he was the founder and sole

owner of CTT was also memorialized in the parties’ Letter Agreement. Specifically, Klein

represented that “Founder [defined as John H. Klein] is the founder and owner of 100% of the

Company’s equity prior to the Investor’s [defined as the Breslows] purchase of the Company’s

Class A Units. As such, the Founder will receive direct and indirect benefits from the Investor’s

purchase of up to 20,000 . . . of the Company’s Class A Units at the First Closing.”

       58.     It was important to the Breslows, and a material factor in their decision to invest

in CTT, that Klein’s representations that he was the sole owner of CTT and had invested $11

million of his own money in the company were true.           These facts, which Klein strongly

reinforced to the Breslows, showed that Klein believed in and was committed to CTT and its

future. It also showed the Breslows that Klein had his own “skin in the game” – to the tune of

$11 million – and would be highly motivated to ensure CTT’s success for all of its members.

       59.     Klein and Posner both knew, through multiple communications regarding the

Breslows’ potential investment in CTT, that their representations to the Breslows that Klein was

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CTT’s sole unit holder were important to the Breslows, and that the Breslows relied on such

representations when deciding to invest in CTT.

       60.     Klein and Posner also knew that Klein’s representations that he had personally

invested $11 million in CTT were important to the Breslows, and that the Breslows relied on

such representations when deciding to invest in CTT.

       61.     Klein’s and Posner’s representations to the Breslows were knowingly false.

       62.     Klein was not CTT’s sole unit holder, as represented. In fact, there were, and on

information and belief, are, multiple other unit holders unrelated to Klein, who Klein and Posner

did not disclose to the Breslows at the time of the Breslows’ investment.

       63.     To date, the Breslows have been unable to determine all other owners of CTT

units, or those who may have options or some other right to purchase units, because Klein

refuses to provide that information to the Breslows, despite their repeated requests.

       64.     It has also become clear that Klein did not invest the $11 million in CTT, as he

represented he had. Under § 7.2 of the Unit Purchase Agreement, Klein may receive, under

certain circumstances and conditions, repayment of a $3 million debt that CTT allegedly owes to

him. But prior to receiving any such repayment, Klein is required to provide to the Breslows

“documented proof of [Klein’s] investments into the Company of at least $11 million.” Despite

demands to do so, Klein has never provided such “documented proof” to the Breslows.

       65.     Notwithstanding Klein’s failure to provide the required “documented proof,” the

Breslows have learned that Klein and Posner misrepresented to CTT’s then Chief Financial

Officer that Klein had, in fact, provided the required “documented proof” to the Breslows and

through such fraud caused CTT to repay him $500,000 of the purported $3 million debt.

       66.     The Breslows confronted Klein about the wrongful receipt of the $500,000 and

again demanded to see “documented proof” of his alleged $11 million investment in CTT, to

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which the Breslows are entitled under the Unit Purchase Agreement.           Klein continues to

stonewall the Breslows by refusing to provide any such proof. Klein has also refused to pay

back to CTT the $500,000.

       67.     Klein’s stonewalling and lies make clear that he did not invest $11 million of his

own money in CTT and that his representations to the contrary were false.

       68.     Absent Klein’s and Posner’s representations that Klein was the sole owner of

CTT, and absent Klein’s representations that he had personally invested $11 million in the

company, the Breslows never would have signed the Unit Purchase Agreement and invested

$12.5 million in the company.

               2.     CTT’s alleged ownership of NDA 50-824.

       69.     Klein and Posner also repeatedly represented to the Breslows that CTT owned all

of the key intellectual property. This included NDA 50-824, which was necessary for CTT to,

exclusively, package and market one of CTT’s purportedly game-changing products.

       70.     For example, on approximately June 3, 2016, Wasserman and Posner, on behalf

of Klein, had a telephone conversation in which they discussed how important NDA 50-824 was

to CTT, its business model, and its success.

       71.     During that telephone call, Posner again represented to Wasserman that NDA 50-

824 and other important intellectual property were owned by CTT. Upon information and belief,

Posner knew at this time that his representation was false. Posner and Wasserman also discussed

Wasserman’s request on behalf of the Breslows that Klein represent and warrant in the closing

documents that NDA 50-824 was owned by CTT, given how critical the NDA was to the

Breslows.

       72.     To the Breslows, that CTT supposedly owned the extremely valuable and critical

NDA 50-824 was a central fact in their decision to invest in CTT. The Breslows understood that


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NDAs are so valuable because the process of obtaining FDA approval is lengthy and expensive.

Based on Klein’s and Posner’s representations that CTT owned NDA 50-824, and the fact that

the FDA approved it, CTT would be able to sell the critical product covered by NDA 50-824, or

CTT could sell the NDA, a valuable asset, to a third party or license the rights to a third party. In

short, NDA 50-824 was, based on Klein’s and Posner’s representations, a very valuable asset for

CTT.

       73.     Because NDA 50-824 was so important to them, the Breslows required Klein to

expressly represent and warrant in the Unit Purchase Agreement and Letter Agreement that CTT

owned, or had a license to, NDA 50-824 and other key intellectual property.

       74.     With respect to the Unit Purchase Agreement, under § 3.9 and its associated

schedule, Klein represented and warranted, among other things, that CTT “owned, or [was]

under license” to use, NDA 50-824 and other key intellectual property. The Unit Purchase

Agreement places absolutely no limit on CTT’s right to use NDA 50-824.

       75.     At the Breslows’ demand, Klein also executed the Letter Agreement, reaffirming

his representations in the Unit Purchase Agreement. “As an inducement to [the Breslows] to

purchase the Class A Units [in CTT], and as a condition to such purchase,” Klein represented

that he would indemnify the Breslows and hold them harmless with respect to any breach of his

representations regarding NDA 50-824 and other intellectual property.

       76.     Despite Klein’s and Posner’s multiple representations to the contrary, CTT does

not own, or even have a license to use, NDA 50-824. Klein has now admitted this fact.

       77.     The Breslows have learned, and Klein has admitted, that NDA 50-824 is owned

or licensed to be used by another company, Gastro-Entero Logic, LLC (“GEL”), which is based

in the Cayman Islands and is unrelated to CTT.

       78.     Klein has represented that he holds a 34% interest in GEL.

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       79.     On information and belief, GEL is using NDA 50-824 and deriving revenue from

it. As a significant owner of GEL, Klein has personally benefitted from such use.

       80.     Had the Breslows known that CTT does not own NDA 50-824, they never would

have signed the Unit Purchase Agreement and invested $12.5 million in the company.

               3.      Klein’s and Posner’s misrepresentations to the Breslows regarding
                       CTT’s financial condition.

       81.     Like they did with respect to the misrepresentations regarding Klein’s alleged

ownership of and personal investment in CTT, and the company’s alleged ownership of NDA

50-824, Klein and Posner continued to make misrepresentations to the Breslows regarding

CTT’s financial condition and continuation of its non-core business.

       82.     For example, Klein touted CTT’s strong financial position by representing to the

Breslows that CTT was already achieving significant sales from its important non-core business,

which CTT presently intended to continue indefinitely. During a telephone conversation on

approximately April 25, 2016, for instance, Klein represented to Wasserman that CTT’s monthly

revenue from the sale of non-core products was already in the $5 million to $6 million range and

would increase to $7 million to $8 million in the near future.

       83.     Similarly, on approximately June 1, 2016, Posner, on behalf of Klein, represented

to the Breslows that CTT presently intended to continue selling, indefinitely, at least two non-

core products, Diclofenac and Lidocaine, that alone would generate revenue of $10 million to

$15 million per month.

       84.     Klein and Posner, on information and belief, also directed Legacy Packaging, the

entity that CTT had partnered with to package and distribute CTT’s products, including its non-

core product line, to provide the Breslows and Wasserman information showing the product




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shipments and invoices for 2016 as of June 7, 2016. That information showed, as of June 7,

2016, CTT customers had been invoiced for $10,689,570 of non-core product.

       85.     Despite Klein’s and Posner’s prior representations and assurances to the Breslows

that CTT presently intended to continue, indefinitely, its cash-generating non-core business,

upon which the Breslows relied, shortly after the deal with the Breslows closed, CTT sold off all

of its existing non-core product below cost and abruptly exited the marketplace – completely.

       86.     Klein’s and Posner’s representations about CTT continuing its non-core business

were false when made.

       87.     In addition to his misrepresentations about CTT’s non-core business, Klein

provided false financial statements to the Breslows to induce them to invest in the company. For

example, on approximately July 16, 2016, after the Breslows made their initial $7.5 million

investment in CTT and signed the Unit Purchase Agreement, but before they made their second

payment of $5 million, Klein provided to the Breslows financial statements for CTT. The

balance sheet he provided showed net income from January 1, 2016 through May 31, 2016 of

$3,165,000 and net liabilities of $7,771,000. The Breslows relied on these financials when

investing the $5 million second payment.

       88.     After the Breslows made the $5 million second payment on approximately July

20, 2016, it became clear that the financial statements Klein provided just days before the second

payment were false. Indeed, on approximately August 22, 2016, Klein provided the Breslows

with new financial statements which reduced the previously reported net income to $748,946 – a

reduction of almost $2.5 million, greater than 75% of net income reported a month before.

Similarly, net liabilities increased to over $15 million – almost double what had been represented

just one month before.




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       89.     Klein’s and Posner’s repeated representations to the Breslows that CTT had

strong cash flow and revenues, which the Breslows understood CTT had been using, and would

continue to use, to fund its operations and grow, were also false.       For example, after the

Breslows invested in CTT, Klein informed them that many of the receivables identified in the

financial detail they previously received were in fact uncollectible. This included a $3.9 million

receivable from Med Creations, a CTT customer.

       90.     Klein’s statement was false, and he knew it. Before Klein told the Breslows that

the Med Creations receivable was uncollectible, Klein knew that it had already been paid in full.

Specifically, the $3.9 million was paid into a bank account – account number 5904 at PNC Bank

(“Account 5904”) – that CTT no longer used as its primary account and to which CTT’s then

Chief Financial Officer and staff had no access. Only Klein had access to Account 5904.

       91.     After the Breslows closed on their investment transaction, all of the money in

Account 5904 was supposed to be transferred to CTT’s new bank account.

       92.     Indeed, on approximately June 3, 2016, Wasserman asked Posner whether all the

money in Account 5904 (at the time supposedly $1 million) belonged to CTT.

       93.     Posner responded via email on June 3, 2016, assuring Wasserman that all of the

money in Account 5904 belonged to CTT.

       94.     Despite the foregoing, Klein never told the Breslows that customers such as Med

Creations had paid in full their receivables and had the money deposited in Account 5904. Nor

did Klein transfer, or cause to be transferred, to CTT the money in Account 5904, which

included not only the $3.9 million from Med Creations, but also money from other customers.

       95.     All of the money in Account 5904 belonged to CTT – not to Klein, individually.

Despite this, Klein used the money in Account 5904 to, among other things, improperly pay

himself a salary (on top of the $1.2 million salary, plus benefits, he was already collecting) and

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personal expenses, including, but not limited to, real-estate taxes, income taxes, bills for his

American Express credit card, and the cost of season tickets for the Chicago Bears. It also

appears that Klein used significant sums of the money to pay off investors undisclosed to the

Breslows.

        96.    Had the Breslows known the truth about CTT’s financial condition, and how

Klein intended to and did use CTT’s assets for his own benefit, the Breslows never would have

signed the Unit Purchase Agreement and invested $12.5 million in CTT.

               COUNT I: FRAUD / FRAUDULENT INDUCEMENT (KLEIN)

        97.    The Breslows incorporate paragraphs 1 through 96 as if set forth fully herein.

        98.    As detailed above, Klein made false representations of fact, including, but not

limited to, that: (i) Klein was the founder and 100% owner of CTT, (ii) Klein had personally

invested $11 million in the company, (iii) CTT owned or licensed the key intellectual property –

including NDA 50-824 – for producing and selling products that were necessary for CTT’s

business, (iv) CTT would remain in its non-core business, and (v) CTT’s financial performance

was strong, and the company was generating significant revenue and cash flow that it used, and

would continue to use, to operate and grow.

        99.    Klein made such representations with knowledge or belief that the representations

were false, or, in the alternative, made them with reckless indifference to the truth.

        100.   Additionally, in making such misrepresentations, Klein acted with malice or with

willful and wonton disregard for the Breslows and the harm such misrepresentations would cause

them.

        101.   Klein’s representations were an essential part of the transaction between Klein,

the Breslows, and CTT, and material to the Breslows’ decision to invest.




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       102.    Klein made such representations with the intent to induce the Breslows to act

upon his representations by investing in CTT.

       103.    The Breslows acted in justifiable reliance upon Klein’s representations by

investing $12.5 million in CTT.

       104.    Had the Breslows known that Klein’s representations, as detailed above, were

false, they would not have executed the Unit Purchase Agreement and invested $12.5 million in

CTT.

       105.    As a proximate result of Klein’s misrepresentations, upon which the Breslows

relied, they have suffered significant damage.

                        COUNT II: BREACH OF CONTRACT (KLEIN)
                         (Section 3.9 of the Unit Purchase Agreement)

       106.    The Breslows incorporate paragraphs 1 through 96 as if set forth fully herein.

       107.    The Unit Purchase Agreement entered between the Breslows and Klein as to § 3.9

was a valid contract.

       108.    The Breslows and Klein intended to be bound by § 3.9 of the Unit Purchase

Agreement, as evidenced by the terms of the agreement and their signature to the agreement.

       109.    Section 3.9 of the Unit Purchase Agreement is supported by valid consideration,

including, but not limited to, the Breslows’ $12.5 million investment in CTT.

       110.    Section 3.9 of the Unit Purchase Agreement contains sufficiently definitive terms

setting forth the terms and conditions to which the parties agreed to be bound, including, but not

limited to, terms regarding CTT’s ownership of, or license to use, certain intellectual property,

and Klein’s obligations and representations to the Breslows regarding that intellectual property.




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       111.   Klein breached his obligations under § 3.9 of the Unit Purchase Agreement by

misrepresenting that CTT owned, or had a license to use, all of the intellectual property –

including NDA 50-824 – identified in § 3.9 and its accompanying schedule (Schedule 3.9).

       112.   As a proximate result of Klein’s breach, the Breslows have suffered significant

damage.

                     COUNT III: BREACH OF CONTRACT (KLEIN)
                                  (Letter Agreement)

       113.   The Breslows incorporate paragraphs 1 through 96 as if set forth fully herein.

       114.   The Letter Agreement entered between Klein and the Breslows was a valid

contract.

       115.   The Breslows and Klein intended to be bound by the terms of the Letter

Agreement, as evidenced by the terms of the agreement and their signature to the agreement.

       116.   The Letter Agreement is supported by valid consideration. In fact, the Letter

Agreement specifically states that Klein agrees to its terms in order to induce the Breslows to

purchase Class A Units in CTT and as a condition to that purchase.

       117.   The Letter Agreement contains sufficiently definitive terms setting forth the terms

and conditions to which the parties agreed to be bound, including, but not limited to, terms

regarding Klein’s agreement to indemnify the Breslows for any breach of, or misrepresentation

in, the representations and warranties made in § 3.9 of the Unit Purchase Agreement.

       118.   Klein breached his obligations in the Letter Agreement by misrepresenting that

CTT owned, or had a license to use, all of the intellectual property – including NDA 50-824 –

identified in § 3.9 and its accompanying schedule (Schedule 3.9).

       119.   As a proximate result of Klein’s breach, the Breslows have suffered significant

damage.



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                 COUNT IV: FEDERAL SECURITIES FRAUD (KLEIN)
                   (Section 10(b) of the Exchange Act and Rule 10b–5)

       120.   The Breslows incorporate paragraphs 1 through 105 as if set forth fully herein.

       121.   The Unit Purchase Agreement involves the sale of securities in CTT to the

Breslows.

       122.   As detailed above, Klein made false representations of fact in connection with the

sale of CTT securities to the Breslows, including, but not limited to, that: (i) Klein was the

founder and 100% owner of CTT, (ii) Klein had personally invested $11 million in the company,

(iii) CTT owned or licensed the key intellectual property – including NDA 50-824 – for

producing and selling products that were necessary for CTT’s business, (iv) CTT would remain

in its non-core business, and (v) CTT’s financial performance was strong, and the company was

generating significant revenue and cash flow that it used, and would continue to use, to operate

and grow. Klein’s false representations of fact are material because any reasonable investor

would have considered each of them as an important factor in deciding whether to invest in CTT.

       123.   Klein made these material misrepresentations with the knowledge or belief that

they were in fact false or, in the alternative, with reckless indifference to their truth.

Furthermore, as shown above, Klein made the false representations to the Breslows with the

intent to deceive, manipulate, and defraud them into investing in CTT at an inflated price of

$12.5 million, which personally benefited Klein.

       124.   The Breslows acted in justifiable reliance upon the multiple representations Klein

made to them and, in particular, would not have invested in CTT – and certainly not at the

inflated price of $12.5 million – had they known that Klein’s factual representations were false,

as described above.




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         125.   Klein’s misrepresentations caused the Breslows to suffer a direct economic loss

because, for the reasons set forth above, the CTT securities were dramatically overpriced and

worth considerably less than the $12.5 million that the Breslows paid for them. Again, the

Breslows would not have executed the Unit Purchase Agreement and invested $12.5 million in

CTT had they known the true state of affairs.

         126.   Klein proximately caused the Breslows’ direct economic loss because his

misrepresentations were intimately related to the underlying value of CTT and were a substantial

factor that induced the Breslows to invest in CTT, which they would not have otherwise done.

                                COUNT V: FRAUD (POSNER)

         127.   The Breslows incorporate paragraphs 1 through 96 as if set forth fully herein.

         128.   As detailed above, Posner made false representations of fact, including, but not

limited to, that: (i) Klein was the founder and 100% owner of CTT, (ii) CTT owned or licensed

the key intellectual property – including NDA 50-824 – for producing and selling products that

were necessary for CTT’s business, (iii) CTT would remain in its non-core business, and (iv)

CTT’s financial performance was strong, and the company was generating significant revenue

and cash flow that it used, and would continue to use, to operate and grow.

         129.   Posner made such representations with knowledge or belief that the

representations were false, or, in the alternative, made them with reckless indifference to the

truth.

         130.   Additionally, in making such misrepresentations, Posner acted with malice or

with willful and wonton disregard for the Breslows and the harm such misrepresentations would

cause them.

         131.   Posner’s representations were an essential part of the transaction between Klein,

the Breslows, and CTT, and material to the Breslows’ decision to invest.

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       132.    Posner made such representations with the intent to induce the Breslows to act

upon his representations by investing in CTT.

       133.    The Breslows acted in justifiable reliance upon Posner’s representations by

investing $12.5 million in CTT.

       134.    Had the Breslows known that Posner’s representations, as detailed above, were

false, they would not have executed the Unit Purchase Agreement and invested $12.5 million in

CTT.

       135.    As a proximate result of Posner’s misrepresentations, upon which the Breslows

relied, they have suffered significant damage.

       136.    In addition, as detailed above, Defendant Klein committed fraud by, among other

things, making false representations of fact, including, but not limited to, that: (i) Klein was the

founder and 100% owner of CTT, (ii) Klein had personally invested $11 million in the company,

(iii) CTT owned or licensed the key intellectual property – including NDA 50-824 – for

producing and selling products that were necessary for CTT’s business, (iv) CTT would remain

in its non-core business, and (v) CTT’s financial performance was strong, and the company was

generating significant revenue and cash flow that it used, and would continue to use, to operate

and grow.

       137.    At all relevant times, Defendant Posner was aware that Klein was making these

material misrepresentations to induce the Breslows’ investment in CTT, and that the Breslows

were relying on the misrepresentations.      Nonetheless, Posner never corrected Klein’s false

statements or otherwise provided the Breslows with information demonstrating the true facts,

which Posner could have done.




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                  COUNT VI: FEDERAL SECURITIES FRAUD (POSNER)
                    (Section 10(b) of the Exchange Act and Rule 10b–5)

        138.    The Breslows incorporate paragraphs 1 through 96 and 127 through 137 as if set

forth fully herein.

        139.    The Unit Purchase Agreement involves the sale of securities in CTT to the

Breslows.

        140.    As detailed above, Posner made false representations of fact in connection with

the sale of CTT securities to the Breslows, including, but not limited to, that: (i) Klein was the

founder and 100% owner of CTT, (ii) CTT owned or licensed the key intellectual property –

including NDA 50-824 – for producing and selling products that were necessary for CTT’s

business, (iii) CTT would remain in its non-core business, and (iv) CTT’s financial performance

was strong, and the company was generating significant revenue and cash flow that it used, and

would continue to use, to operate and grow. Posner’s false representations of fact are material

because any reasonable investor would have considered each of them as an important factor in

deciding whether to invest in CTT.

        141.    Posner made these material misrepresentations with the knowledge or belief that

they were in fact false or, in the alternative, with reckless indifference to their truth.

Furthermore, as shown above, Posner made the false representations to the Breslows with the

intent to deceive, manipulate, and defraud them into investing in CTT at an inflated price of

$12.5 million, which personally benefited both Klein and Posner.

        142.    The Breslows acted in justifiable reliance upon the multiple representations

Posner made to them and, in particular, would not have invested in CTT – and certainly not at

the inflated price of $12.5 million – had they known that Posner’s factual representations were

false, as described above.



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       143.    Posner’s misrepresentations caused the Breslows to suffer a direct economic loss

because, for the reasons set forth above, the CTT securities were dramatically overpriced and

worth considerably less than the $12.5 million that the Breslows paid for them. Again, the

Breslows would not have executed the Unit Purchase Agreement and invested $12.5 million in

CTT had they known the true state of affairs.

       144.    Posner proximately caused the Breslows’ direct economic loss because his

misrepresentations were intimately related to the underlying value of CTT and were a substantial

factor that induced the Breslows to invest in CTT, which they would not have otherwise done.

       145.    In addition, as detailed above, Defendant Klein committed fraud by, among other

things, making false representations of fact, including, but not limited to, that: (i) Klein was the

founder and 100% owner of CTT, (ii) Klein had personally invested $11 million in the company,

(iii) CTT owned or licensed the key intellectual property – including NDA 50-824 – for

producing and selling products that were necessary for CTT’s business, (iv) CTT would remain

in its non-core business, and (v) CTT’s financial performance was strong, and the company was

generating significant revenue and cash flow that it used, and would continue to use, to operate

and grow.

       146.    At all relevant times, Defendant Posner was aware that Klein was making these

material misrepresentations to induce the Breslows’ investment in CTT, and that the Breslows

were relying on the misrepresentations.      Nonetheless, Posner never corrected Klein’s false

statements or otherwise provided the Breslows with information demonstrating the true facts,

which Posner could have done.

                COUNT VII: AIDING AND ABETTING FRAUD (POSNER)

       147.    The Breslows incorporate paragraphs 1 through 105 as if fully set forth herein.




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       148.    As detailed above, Defendant Klein committed fraud by, among other things,

making false representations of fact, including, but not limited to, that: (i) Klein was the founder

and 100% owner of CTT, (ii) Klein had personally invested $11 million in the company, (iii)

CTT owned or licensed the key intellectual property – including NDA 50-824 – for producing

and selling products that were necessary for CTT’s business, (iv) CTT would remain in its non-

core business, and (v) CTT’s financial performance was strong, and the company was generating

significant revenue and cash flow that it used, and would continue to use, to operate and grow.

       149.    Defendant Klein’s fraud proximately caused the Breslows’ injury by inducing

them to invest $12.5 million in CTT, which they never would have done had they known that

any of the representations made by Klein were false.

       150.    At all relevant times, Defendant Posner was aware that Klein was making these

material misrepresentations to induce the Breslows’ investment in CTT, and that the Breslows

were relying on the misrepresentations.       Nonetheless, Posner knowingly and substantially

assisted Klein’s scheme by helping facilitate the Breslows’ investment in CTT. For example,

Posner never corrected Klein’s false statements or otherwise provided the Breslows with

information demonstrating the true facts, which Posner could have done.

       151.    In addition, Defendant Posner knowingly and substantially assisted Klein with

fraudulently inducing the Breslows’ investment by, among other things: (i) misrepresenting to

the Breslows that Klein was the founder and 100% owner of CTT, (ii) misrepresenting that CTT

owned or licensed the key intellectual property – including NDA 50-824 – for producing and

selling products that were necessary for CTT’s business, (iii) misrepresenting that CTT would

remain in its non-core business, and (iv) misrepresenting that CTT’s financial performance was

strong, and the company was generating significant revenue and cash flow that it used, and

would continue to use, to operate and grow.

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        152.    At all relevant times, Posner knew the misrepresentations detailed above were

false when made, or, in the alternative, made them with reckless indifference to the truth.

        153.    At all relevant times, Posner was aware of, and accepted, his role in furthering

Klein’s fraudulent scheme to induce the Breslows to invest $12.5 million in CTT. Indeed,

Posner directly benefited from the scheme.

        154.    As a proximate result of Posner aiding and abetting Klein’s fraud, the Breslows

suffered significant damage.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs Robert and Monica Breslow respectfully request that the Court

enter judgment in their favor and against Defendants John H. Klein and Barry A. Posner, and

enter relief as follows:

                a.         Rescission of the Unit Purchase Agreement;

                b.         Rescissionary damages for the harm caused to Robert and Monica
                           Breslow;

                c.         Compensatory and punitive damages;

                d.         Attorneys’ fees, costs, and interest; and/or

                e.         Any other relief the Court deems just.

Dated: August 3, 2018                                      /s/ Lisa A. Schmidt

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